                         UNITED STATES BANKRUPTCY COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                    (OAKLAND DIVISION)




In re:                                              Chapter 7

PACIFIC STEEL CASTING                               Case No. 19-40193
COMPANY LLC,

                       Debtor.


                         NOTICE OF APPEARANCE AND
                  REQUEST FOR SERVICE OF NOTICES AND PAPERS

         Please take notice Donahue Fitzgerald LLP: (a) appears as counsel to HFR

PROPERTIES, L.P. (the "HFR") in the above-captioned bankruptcy case (the "Case") pending

in the United States Bankruptcy Court for the Northern District of California (the "Court")

pursuant to Bankruptcy Rules 2002 and 9010 and Sections 102(1), 342, and 1109(b) of the

Bankruptcy Code; and (b) requests that all notices given or required to be given in the Case and

all papers served or required to be served in the Case be given to and served upon:

                                        Eric A. Handler
                                 DONAHUE FITZGERALD LLP
                                 1999 Harrison Street, 25th Floor
                                 Oakland, California 94612-3520
                                   Telephone: (510) 451-3300
                                   Facsimile: (510) 451-1527
                                 Email: ehandler@donahue.com

         Please take further notice that counsel undersigned and Donahue Fitzgerald LLP consents

to e-mail service, at the address above, of all notices given or required to be given in the Case.

         Please take further notice that the foregoing demand includes not only the notices and

papers referred to in the Rules identified above but also, without limitation, any and all orders,



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applications, complaints, demands, hearings, motions, petitions, pleadings, requests (whether for

relief from stay or otherwise), plans of reorganization, statements, schedules, operating reports,

any notices related to any of the foregoing, any other auxiliary filings related to any of the

foregoing, and any other documents brought before the Court or filed with the U.S. Trustee in

the Case, whether formal or informal and regardless of whether transmitted or conveyed by mail,

personal delivery, telephone, email, or otherwise.

       Please take further notice that neither this Notice nor any subsequent appearance,

pleading, claim, proof of claim, document, suit, motion, nor any other writing or conduct shall

constitute a waiver of HFR's:

       1.      Right to have any and all final orders in any and all non-core matters entered only

after de novo review by a United States District Court Judge;

       2.      Right to trial by jury in any proceeding as to any and all matters so triable herein,

whether or not the same be designated legal or private rights, or in any case, controversy, or

proceeding related hereto, notwithstanding the designation or not of such matters as "core

proceedings" pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant

to statute or the United States Constitution;

       3.      Right to have the reference of this matter withdrawn by the United States District

Court in any matter or proceeding subject to mandatory or discretionary withdrawal;

       4.      Right to receipt of service of process in all actions, causes, claims, or proceedings

arising in, arising under, or related to these proceedings to be served directly on HFR as required

by law, and this Notice shall not constitute an authorization (express or implied) for the law firm

Donahue Fitzgerald LLP to act as the agent for purposes of service on HFR under Bankruptcy

Rule 7004;




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       5.       Right to contest service of process; or

       6.       Other rights, claims, actions, defenses, setoffs, recoupments, or other matters to

which any party is entitled under any agreements or at law or in equity or under the United States

Constitution.

       All of the above rights are expressly reserved and preserved without exception and with

no purpose of confessing or conceding jurisdiction in any way by this filing or by any other

participation in the Case.

       Dated: July 12, 2019                     DONAHUE FITZGERALD LLP


                                                By: /s/ Eric A. Handler
                                                    Eric A. Handler (Cal. State Bar No. 224637)
                                                    DONAHUE FITZGERALD LLP
                                                    1999 Harrison Street, 25th Floor
                                                    Oakland, California 94612
                                                    Telephone: (510) 451-3300
                                                    Facsimile: (510) 451-1527
                                                    Email: ehandler@donahue.com

                                                    Attorneys for HFR Properties, L.P.




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                                 CERTIFICATE OF SERVICE

       I am: (1) a citizen of the United States and employed in Alameda County, California; (2)

over the age of eighteen years; (3) not a party to the within-entitled action; and (4) employed in

the office of a member of the bar of this Court at whose direction the service attested to herein

was made. My business address is 1999 Harrison Street, 25th Floor, Oakland, California, 94612-

3520. I am readily familiar with this firm's practice for collection and processing of documents

for mailing with the United States Postal Service. On July 12, 2019, the foregoing Notice Of

Appearance And Request For Service Of Notices And Papers was served: (a) on all parties in

interest through the CM/ECF system of the United States Bankruptcy Court for the Northern

District of California; and (b) on the following individuals via first class mail by placing true and

correct copies thereof in sealed envelopes with postage prepaid for deposit with the United States

Postal Service in Oakland, California and addressed as follows:

       Pacific Steel Casting Company LLC
       P.O. Box 6486
       Moraga, CA 94570
       Debtor

       Tracy Green, Esq.
       Wendel, Rosen, Black and Dean
       1111 Broadway, 24th Fl.
       P.O. Box 2047
       Oakland, CA 94607
       Attorney for Debtor

       Sarah L. Little, Esq.
       2415 San Ramon Valley Blvd., #4432
       San Ramon, CA 94583
       Chapter 7 Trustee

       Eric A. Nyberg, Esq.
       Kornfield Nyberg Bendes Kuhner & Little
       1970 Broadway #600
       Oakland, CA 94612
       Attorney for Chapter 7 Trustee



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       I certify under penalty of perjury that the foregoing is true and correct and that this

certification has been executed on July 12, 2019 in Oakland, California.



                                                                     Sara Bonnel




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